    Case: 1:20-cv-01821 Document #: 57 Filed: 07/07/21 Page 1 of 3 PageID #:502




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CIVCON SERVICES, INC., individually and on )
behalf of all others similarly situated,   )
                                           )
                Plaintiff,                 )                  Case No. 1:20-cv-01821
                                           )
       v.                                  )
                                           )
ACCESSO SERVICES, LLC                      )
                                           )
                Defendant                  )
                                           )
                                           )


    PLAINTIFF’S NOTICE OF MOTION AND UNOPPOSED MOTION FOR FINAL
                APPROVAL OF CLASS ACTION SETTLEMENT

       Please take notice that the Plaintiff CivCon Services, Inc. hereby moves for an Order of

the Court granting its Unopposed Motion for Final Approval of Class Action Settlement with

Defendant Accesso Services, LLC. This motion is based on this notice of motion and motion,

Federal Rule of Civil Procedure 23, the concurrently filed Memorandum and supporting

declaration, and all other evidence and arguments presented in the briefings.

       Pursuant to the United States District Court for the Northern District of Illinois’ Tenth

Amended General Order 20-0012 (February 12, 2021), the undersigned counsel will not request

an in-person presentment of this Motion. Should the Court determine that presentment is

necessary, the undersigned counsel is available at the Court’s earliest availability.


Date: July 7, 2021

                                                      /s/ James B. Zouras
                                                      Howard Foster
                                                      Matthew Galin
                                                      FOSTER PC
                                                      10 S. Riverside Plaza, Suite 875
                                                  1
Case: 1:20-cv-01821 Document #: 57 Filed: 07/07/21 Page 2 of 3 PageID #:503




                                        Chicago, IL 60606

                                        James B. Zouras
                                        Ryan F. Stephan
                                        Anna M. Ceragioli
                                        STEPHAN ZOURAS LLP
                                        100 N. Riverside Plaza, Suite 2150
                                        Chicago, IL 60606
                                        Aaron Walner

                                        THE WALNER LAW FIRM, LLC
                                        555 Skokie Blvd, Suite 250
                                        Northbrook, IL 60062

                                        Caroline J. Smith
                                        CAROLINE J. SMITH & ASSC., P.C.
                                        77 W. Washington Street, Suite 1001
                                        Chicago, IL 60602

                                        ATTORNEYS FOR PLAINTIFF AND
                                        THE CLASS




                                    2
    Case: 1:20-cv-01821 Document #: 57 Filed: 07/07/21 Page 3 of 3 PageID #:504




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing document was filed electronically
with the above-captioned court, with notice of case activity to be generated and sent electronically
by the Clerk of said court this 7th day of June, 2021 to all counsel of record.

Robert Entin
POLSINELLI PC
150 N. Riverside Plaza, Suite 3000
Chicago, IL 60606
Phone: (312) 819-1922
Fax: (312) 819-1910
rentin@polsinelli.com
Mark A. Olthoff
Polsinelli PC
900 W. 48th Place, Suite 900
Kansas City, MO 64112
Phone: (816) 753-1000
Fax: (816) 753-1536
molthoff@polsinelli.com
ATTORNEYS FOR DEFENDANT
ACCESSO SERVICES, LLC
                                              /s/ Anna M. Ceragioli




                                                 3
